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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


GWYNNE A. WILCOX,
            Plaintiff,

v.
                                            Case No. 1:25-cv-00334-BAH

DONALD J. TRUMP, in his official
capacity as President of the United
States; and
MARVIN E. KAPLAN, in his official
capacity as Chairman of the National
Labor Relations Board,
                Defendants.

      BRIEF OF THE STATES OF MINNESOTA, ARIZONA, CALIFORNIA,
     COLORADO, CONNECTICUT, DELAWARE, DISTRICT OF COLUMBIA,
       HAWAI’I, ILLINOIS, MARYLAND, MASSACHUSETTS, MICHIGAN,
        NEVADA, NEW JERSEY, NEW MEXICO, NEW YORK, OREGON,
               RHODE ISLAND, VERMONT, AND WISCONSIN
                     AS AMICI CURIAE IN SUPPORT OF
       PLAINTIFF’S MOTION FOR EXPEDITED SUMMARY JUDGMENT

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                         INTEREST OF AMICI CURIAE1

      For 90 years the National Labor Relations Act (“NLRA” or “the Act”) has

supported workers and strengthened the American economy by enabling employees

to join together to negotiate for higher wages, better health and retirement benefits,

and improved working conditions. The National Labor Relations Board (“NLRB” or

“the Board”) is the independent federal agency charged with administering and

enforcing the NLRA and thus plays an integral part in safeguarding the ability of

everyday Americans to advance their workplace interests through collective action.

Defendants’ unlawful removal of Plaintiff Wilcox from the Board not only

immediately prevents the Board from performing several of its most important

functions but also contravenes the law and customs intended to preserve the Board’s

independence and legitimacy in the long term.

      Amici States of Arizona, California, Colorado, Connecticut, Delaware, District

of Columbia, Hawai’i, Illinois, Maryland, Massachusetts, Michigan, Minnesota,

Nevada, New Jersey, New Mexico, New York, Oregon, Rhode Island, Vermont and

Wisconsin have a unique interest in a fully functional and independent NLRB. Many

Amici States have a higher percentage of employees covered by collective bargaining

agreements than the national average and all have a strong interest in having a well-




1 No counsel for a party authored this brief in whole or in part, and no party or counsel

for a party made a monetary contribution intended to fund the preparation or
submission of this brief. No person other than Amici Curiae or their counsel made a
monetary contribution to the preparation or submission of this brief.


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functioning labor relations system.2 And, because the NLRA vests the Board with

significant oversight authority, the absence of a functioning Board creates a

regulatory vacuum that harms workers in Amici States. Amici thus have a strong

interest in ensuring that federal labor laws remain effective.

                                    ARGUMENT

I.    LABOR UNIONS SUPPORT AMERICAN WORKERS AND THE ECONOMY.

      In passing the NLRA, Congress explicitly recognized that the “inequality of

bargaining power” between employees and employers “substantially burdens and

affects the flow of commerce, and tends to aggravate recurrent business depressions,

by depressing wage rates and the purchasing power of wage earners in industry and

by preventing the stabilization of competitive wage rates and working conditions

within and between industries.” 29 U.S.C. § 151. Since one of Congress’s “primary

objective[s]” in enacting the NLRA was “[t]o achieve stability of labor relations,”

Colgate-Palmolive-Peet Co. v. N. L. R. B., 338 U.S. 355, 362 (1949), the NLRA “grants

certain rights to both workers and employers, seeks to prevent practices that could

frustrate a peaceful worker-employer relationship, and provides mechanisms for

workers   and    employers    to   resolve       disputes.”   Jon   O.   Shimabukuro    &



2 In 2024, for example, 27.5% percent of wage and salary workers in Hawai’i, 21.9%

of those in New York, and 14.8% of those in Minnesota were covered by a union or
employee association agreement (regardless of whether they were members
of the collective bargaining unit), see Bureau of Labor Statistics,
Union Affiliation of Employed Wage and Salary Workers by State,
https://www.bls.gov/news.release/union2.t05.htm (Jan. 28, 2025), compared with
11.1 percent nationwide, see Bureau of Labor Statistics, Union Affiliation of
Employed     Wage     and    Salary   Workers     By    Selected Characteristics,
https://www.bls.gov/news.release/union2.t01.htm (Jan. 25, 2025).


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Julie     M.     Whittaker,     Cong.      Rsch.     Serv.,        R42526,     Federal       Labor

Relations      Statutes:   An   Overview    15     (Sept.     5,   2014)     (emphasis   added),

https://crsreports.congress.gov/product/pdf/R/R42526. As Section II will discuss in

greater detail, the NLRB is the linchpin of the dispute-resolution system the NLRA

established.

        Unionization and collective bargaining have been central to improving the

economies of Amici States and the welfare of their workforces. Empirical evidence

shows that unionized workers earn higher wages than their non-unionized

counterparts. According to the Treasury Department, union members make

approximately 10-15 precent more than their non-member peers, with larger wage

benefits for longer-tenured union workers.3 This “union wage premium” is

particularly high among Hispanic workers, Black workers, and women. 4

        Further, union workers are offered more non-wage benefits compared to non-

members, including better retirement benefits, health and life insurance, and paid

leave.5 Indeed, more than 90 percent of union workers are offered sick leave in

contrast to 77 percent of non-union workers.6 Although employer-provided childcare

is still uncommon in the United States, employers of union workers are about


3Laura Feiveson, Labor Unions and the U.S. Economy, U.S. Department of the
Treasury (Aug. 28, 2023), https://home.treasury.gov/news/featured-stories/labor-
unions-and-the-us-economy.
4 U.S. Department of the Treasury, Labor Unions and the Middle Class, 13 (August

2023),     https://home.treasury.gov/system/files/136/Labor-Unions-And-The-Middle-
Class.pdf.
5 Feiveson, supra note 3.

6 U.S. Department of the Treasury, supra note 4, at 16-17.




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25 percent more likely to offer a childcare benefit than employers of non-union

workers.7 And unions have a notable impact on personnel practices that improve the

quality of workers’ lives: unionized workplaces have better systems for addressing

employee grievances, stronger protections for more senior employees, and better

workplace safety practices.8

       Moreover, unions also help set industry standards that benefit both union and

non-union workers. When unionized workplaces establish higher wages and better

working conditions, non-union employers may follow suit to remain competitive in

the labor market.9 For instance, increases in private-sector union membership are

correlated with increased non-union wages.10

       Because the labor relations machinery created by the NLRA relies on the

NLRB to function effectively, any action incapacitating the Board also threatens all

the benefits that the Act confers.

II.    STATES NEED AN EFFECTIVE NLRB TO REGULATE LABOR RELATIONS AND
       ADJUDICATE LABOR DISPUTES.

       Because of the scope of authority granted in the NLRA to the Board, Amici

States stand to suffer if the NLRB is unable to perform its statutorily mandated

rulemaking and adjudicatory functions.




7 Id. at 17.

8 Id. at 18.

9 Id. at 19.

10 Feiveson, supra note 3.




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          Although the precise boundaries are uncertain, the NLRA grants the Board

broad authority over the conduct of labor relations and preempts States from

regulating that conduct. The Supreme Court has stated that, subject to certain

exceptions, the Board maintains exclusive oversight over conduct that is even

“arguably protected or prohibited” by the Act. Amalgamated Ass’n of St., Elec. Ry.

And Motor Coach Emp. Of America v. Lockridge, 403 U.S. 274, 276 (1971) (citing San

Diego Building Trades Council v. Garmon, 359 U.S. 236 (1959)); see also Glacier

Northwest, Inc. v. Int’l Brotherhood of Teamsters Local Union No. 174, 598 U.S. 771,

776 (2023) (noting that Garmon preemption “goes beyond the usual preemption

rule”).

          In particular, the Garmon Court held that “[w]hen an activity is arguably

subject to § 7 or § 8 of the Act, the States as well as the federal courts must defer to

the exclusive competence of the National Labor Relations Board.” Garmon, 359 U.S.

at 245. Those sections, which the Board is empowered to advance through its

rulemaking authority, see 29 U.S.C. § 156, contain the heart of the NLRA’s

protections for workers. For instance, Section 7 guarantees employees “the right to

self-organization, to form, join, or assist labor organizations, to bargain collectively

through representatives of their own choosing, and to engage in other concerted

activities for the purpose of collective bargaining or other mutual aid or protection[.]”

29 U.S.C. § 157. And Section 8 prohibits employers from engaging in a host of unfair

labor practices, including threatening workers for engaging in union activity or

refusing to bargain with union representatives. See 29 U.S.C. § 158(a). The principle




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articulated in Garmon has often prevented states, including state courts, from

regulating certain core labor issues that are within the exclusive province of the

NLRB’s rulemaking authority. See, e.g., Westcott v. Mack Molding Co., No. 24-AP-

132, 2024 WL 5176835, at *6 (Vt. Dec. 20, 2024) (noting that “an employee who

believes his rights to record under the NLRA are being infringed may avail himself

of the NLRB’s exclusive jurisdiction over claims for violations of the NLRA”); Midwest

Motor Exp., Inc. v. Int’l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of

America, Local 120, 512 N.W.2d 881, 887 (Minn. 1994) (holding that a “case that

involves an unfair labor practice falls under the exclusive jurisdiction of the

NLRB”).11

      Despite the Board’s explicit rulemaking authority, see 29 U.S.C. § 156, it

primarily implements the Act by adjudicating labor disputes. The “Board, uniquely

among major federal administrative agencies, has chosen to promulgate virtually all

the legal rules in its field through adjudication rather than rulemaking.” Allentown

Mack Sales & Service, Inc. v. N.L.R.B., 522 U.S. 359, 374 (1998).

      The NLRB’s adjudication process is robust and similarly preempts state

adjudication of many labor disputes, at least in the ordinary course of events. See

Chaulk Services, Inc. v. Massachusetts Comm’n Against Discrimination, 70 F.3d

1361, 1370 (1st Cir. 1995) (noting “NLRB’s role as chief arbiter of labor disputes” and

declining to adjudicate state claims where there was risk of “creating a system of



11 Of course, absent a functioning National Labor Relations Board, there might arise

a serious question whether the Board’s exclusive authority would have preemptive
effect on state regulatory authority over labor matters.


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labor dispute adjudication parallel to the NLRB”). Employees, unions, and employers

file 20,000 to 30,000 unfair labor practice charges each year. 12 Indeed, there are

currently over 260 unfair labor practice cases pending in Minnesota alone. 13 To

handle this immense caseload, the NLRB has delegated aspects of the adjudication

process to Regional Directors and Administrative Law Judges (“ALJ”) but retains

responsibility for reviewing their determinations on appeal. 14 Regional Directors

investigate initial charges and determine if they have sufficient merit for an ALJ to

conduct a hearing, review evidence, and render a decision. 15 Parties can then appeal

an ALJ decision to the Board.16 The Board reviews hundreds of cases every year,

including 144 unfair labor practice cases and 115 cases involving elections and

questions of representation in 2024 alone.17 And over the last decade, the Board has

issued decisions in nearly 3,000 cases in total.18 The absence of a functioning Board

would allow unfair labor practices to remain unchecked, to the detriment of Amici

States.



12 See Investigate Charges, Nat’l Lab. Rel. Bd., https://www.nlrb.gov/about-nlrb/what-

we-do/investigate-charges (last visited Feb. 24, 2025).
13       See       Case       Search,        Nat’l     Lab.      Rel.     Bd.,
https://www.nlrb.gov/search/case?f[0]=case_type:C&s[0]=Open&s[1]=Open%20-
%20Blocked&state[0]=MN (last visited Feb. 24, 2025).
14 See The NLRB Process, Nat’l Lab. Rel. Bd., https://www.nlrb.gov/resources/nlrb-

process (last visited Feb. 24, 2025).
15 Id.

16 Id.

17 Board Decisions Issued, Nat’l Lab. Rel. Bd., https://www.nlrb.gov/reports/agency-

performance/board-decisions-issued (last visited Feb. 24, 2025).
18 Id.




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III.    INVALIDATING THE NLRA’S REMOVAL PROTECTION WOULD NEEDLESSLY
        DESTABILIZE LABOR LAW.

        Defendants’ unlawful removal of Plaintiff in the middle of her term

undermines the Board’s ability to function effectively as an independent, impartial,

quasi-judicial body.

        By depriving the Board of a quorum, Plaintiff’s dismissal will effectively nullify

the NLRA’s protections for the foreseeable future. Parties cannot sue to enforce the

Act in federal or state court; instead, unfair-practice complaints must begin before

the agency. See 29 U.S.C. § 160; Glacier Nw., 598 U.S. at 776-77. And the Board

cannot act without a quorum of at least three members, see 29 U.S.C. § 153; see also

New Process Steel, L.P. v. N.L.R.B., 560 U.S. 674, 680 (2010), which Plaintiff’s

dismissal renders unavailable.19 Defendants’ unlawful removal of Plaintiff will thus

undermine the Act’s protections, depriving workers, employers, and States of the

benefits discussed above and likely generating “industrial strife and unrest.”

29 U.S.C. § 151; see, e.g., Walter Hourahan, Collective Bargaining, in Historical

Encyclopedia of American Labor Law 92, 93 (Robert E. Weir & James P. Hanlan eds.,

2004) (crediting NLRA with increasing “stability” of labor-management relations).

        Indeed, parties have already cited the lack of a quorum in challenging

administrative proceedings under the NLRA. Mere days after Defendants unlawfully

removed Plaintiff from the Board, Whole Foods asserted in a filing that a designated


19 Although many NLRA administrative proceedings are heard by ALJs in the first

instance, an ALJ’s decision can become final without Board action only if no party
appeals. See 29 U.S.C. § 160(c); 29 C.F.R. § 101.12. Thus, any party that allegedly
violated the Act can attempt to forestall final agency action for as long as the Board
lacks a quorum by appealing any adverse ALJ decision.


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Regional Director lacked statutory authority to certify the results of an election at

one of its stores because of the absence of a quorum at the NLRB. 20

      Plaintiff’s unlawful dismissal affects not only the current enforcement of labor

laws, but also the long-term stability and legitimacy of the NLRB as a multi-member

agency made up of experts. By limiting the permissible grounds for removal and

giving Board members staggered five-year terms, see 29 U.S.C. § 153, Congress

intended to create a stable body of labor law through an agency that would

“accumulate technical expertise and avoid a ‘complete change’ in leadership ‘at any

one time.’” Seila Law LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 216 (2020)

(quoting Humphrey’s Ex’r v. United States, 295 U.S. 602, 624 (1935)).21 Those

provisions also reflect Congress’s intent that the Board be “‘non-partisan’ and . . . ‘act

with entire impartiality’” in adjudicating cases, id. (quoting Humphrey’s Ex’r, 295

U.S. at 624), a goal further advanced by the Board’s tradition of partisan balance, see

Brian D. Feinstein, Designing Executive Agencies for Congressional Influence,




20 See Whole Foods Market Group, Inc.’s Objections to Conduct Affecting the Results

of Election, Whole Foods Market Group, Inc., No. 04-RC-355267 (N.L.R.B. Feb. 3,
2025).
21 The amicus brief filed by Tennessee takes issue with lawful regulations
promulgated by the NLRB and other executive branch agencies during a period when
Democrats led the executive branch. See Tenn. Br. 2, 12-14. The brief claims that
states are being “whipsaw[ed]” by federal rules that are not “check[ed]” by Congress
or Presidents. Id. at 3. But it is Congress that established the carefully staggered
terms of the NLRB and it is past Presidents that have exercised their authority to
appoint the chair and fill empty positions. Allowing each President to replace the
entire Board each administration would pose a much larger risk of “whipsaw[ing]”
states with ever-changing regulation and adjudication.


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69 Admin. L. Rev. 259, 279 n.77 (2017). Defendants’ position would defeat these

congressional purposes.

      Fortunately, Article II does not require that result because, as Plaintiff’s brief

explains, the statutory removal protection for NLRB members is constitutional. That

result makes good sense, since the Act leaves the President ample means to fulfill his

constitutional obligation to “take Care that the Laws be faithfully executed.” U.S.

Const. art. II, § 3; see Seila Law, 591 U.S. at 213. The President appoints the Board’s

members, designates its chairperson, and may remove members for cause. See 29

U.S.C. § 153(a). He also appoints—and may remove at will—the agency’s general

counsel. See id. § 153(d); Rieth-Riley Constr. Co. v. NLRB, 114 F.4th 519, 529-31 (6th

Cir. 2024). The NLRA gives “final authority . . . in respect of the investigation of

charges and issuance of complaints” to the at-will-removable general counsel. 29

U.S.C. § 153(d). This separate office, and the President’s appointment and removal

power over it, demonstrates that the Board has less expansive independent powers

than those wielded by the 1935 FTC, the agency whose members’ removal protection

the Court upheld in Humphrey’s Executor. While the FTC had “wide powers of

investigation” and the ability to “issue . . . complaint[s],” Humphrey’s Ex’r, 295 U.S.

at 620-21, the NLRA gives “final authority . . . in respect of the investigation of

charges and issuance of complaints” to the at-will-removable general counsel, 29

U.S.C. § 153(d).

                                   CONCLUSION

      The NLRB plays a central role in adjudicating and regulating labor relations

in our nation. Its stability, impartiality, and expertise are key to the wellbeing of


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workers in every state. Amici urge this Court to consider those public interest factors

as weighing heavily in favor of granting Plaintiff’s motion for expedited summary

judgment.



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                       CERTIFICATE OF COMPLIANCE

      Pursuant to LCvR 7(o), I hereby certify that this brief conforms to the

requirements of LCvR 5.4, complies with the requirements set forth in Fed. R. App.

P. 29(a)(4), and does not exceed 25 pages in length.



Dated: February 28, 2025




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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 28, 2025, I electronically filed the original of

this brief with the Clerk of the Court using the CM/ECF system. Notice of this filing

will be sent to all attorneys of record by operation of the Court’s electronic filing

system.



Dated: February 28, 2025




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